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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                Chapter 11
In re:
                                                                Case No.: 19-11466 (MFW)
CENTER CITY HEALTHCARE, LLC d/b/a
HAHNEMANN UNIVERSITY HOSPITAL,                                  (Jointly Administered)
et al.,1
                                                               Objections Due: November 1, 2023 at 4:00 p.m. ET
                                    Debtors.                   Hearing Date: TBD if objections filed



      NOTICE OF FORTY NINTH MONTHLY APPLICATION OF SILLS CUMMIS &
    GROSS P.C. FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
     AND FOR REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE OFFICIAL
            COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD
                    FROM JULY 1, 2023 THROUGH JULY 31, 2023

         PLEASE TAKE NOTICE THAT on October 11, 2023, Sills Cummis & Gross P.C.

(“Sills”), as counsel to the Official Committee of Unsecured Creditors (the “Committee”) of the

above-captioned debtors and debtors-in-possession (the “Debtors”), filed the Forty Ninth Monthly

Fee Application of Sills Cummis & Gross P.C. for Allowance of Compensation for Services

Rendered and for Reimbursement of Expenses as Counsel to the Official Committee of Unsecured

Creditors for the Period July 1, 2023 through July 31, 2023 (the “Application”).

         PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Court’s Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses of Professionals, entered

August 2, 2019 [D.I. 341] (the “Interim Compensation Order”), objections, if any, to the




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  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617), SCHC
Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC Pediatric
Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862),
TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C.
(5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.




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Application must be filed with the Clerk of the United States Bankruptcy Court for the District of

Delaware, 824 North Market Street, Wilmington, DE 19801, and be served so as to be received by

the following parties by no later than November 1, 2023 at 4:00 p.m. (prevailing Eastern time),

(the “Objection Deadline”): (a) the Debtors, Center City Healthcare, LLC, 216 North Broad Street,

Philadelphia, PA 19102 (Attn: Allen Wilen, CRO); (b) Counsel to the Debtors, Saul Ewing

Arnstein & Lehr LLP, 1201 North Market Street, Suite 2300, Wilmington, DE 19801 (Attn: Mark

Minuti, Esq. and Monique B. DiSabatino, Esq.) and 1500 Market Street, 38th Floor, Philadelphia,

PA 19102 (Attn: Jeffrey Hampton, Esq. and Adam H. Isenberg, Esq.); (c) Counsel to the

Committee, Sills Cummis & Gross P.C., The Legal Center, One Riverfront Plaza, Newark, NJ

07102 (Attn: Andrew H. Sherman, Esq. and Boris I. Mankovetskiy, Esq.) and Fox Rothschild LLP,

919 N. Market Street, Suite 300, Wilmington, DE 19899-2323 (Attn: Seth A. Niederman); (d) the

Office of the United States Trustee, District of Delaware, 844 N. King Street, Suite 2207, Lockbox

35, Wilmington, DE 19801 (Attn: Benjamin A. Hackman, Esq.); and (e) Counsel to the DIP Agent,

Stradley, Ronon, Stevens, & Young, LLP, 2005 Market Street, Suite 2600, Philadelphia, PA 19103

(Attn: Gretchen M. Santamour, Esq.) and 1000 N. West Street, Suite 1279, Wilmington, DE 19801

(Attn: Joelle E. Polesky, Esq.).

        PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Interim Compensation

Order, upon expiration of the Objection Deadline, if a Notice of Objection has not been served

with respect to the Application, Sills may file a certificate of no objection (a “CNO”) with the

Court with respect to the unopposed portion of the fees and expenses requested in its Monthly Fee

Application. After a CNO is filed, the Debtors are authorized and directed to pay Sills an amount

the “Actual Monthly Payment”) equal to 80 percent of the fees and 100 percent of the expenses

requested in the applicable Monthly Fee Application (the “Maximum Monthly Payment”). If a



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Notice of Objection was timely filed and received and remains unresolved, the Debtors are

authorized and directed to pay Sills an amount (the “Reduced Monthly Payment”) equal or lessor

of (i) the Maximum Monthly Payment and (ii) 80% of fees and 100% of the expenses not subject

to a Notice of Objection.

  Dated: October 11, 2023                    FOX ROTHSCHILD LLP

                                             /s/ Seth A. Niederman
                                             Seth A. Niederman (No. 4588)
                                             919 North Market Street, Suite 300
                                             Wilmington, DE 19899-2323
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                                             Counsel to the Official Committee of
                                             Unsecured Creditors




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